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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S., INC.,

             Plaintiff,
v.                                            Case No.: 4:23cv163-MW/MJF

RONALD D. DESANTIS, in his
official capacity as Governor of
Florida, et al.,

          Defendants.
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                                      NOTICE

      This Notice acknowledges receipt of the parties’ “Joint Stipulation Regarding

Briefing Schedule and Service of Process,” ECF No. 34, in which Defendants

request (and Plaintiffs do not oppose) a proposed briefing schedule for forthcoming

motions to dismiss. This Court will take no action, scheduling or otherwise, in this

case until it rules on the pending motion for disqualification.

      SO ORDERED on May 23, 2023.
                                        s/Mark E. Walker
                                        Chief United States District Judge
